Case 1:17-cv-23749-PAS Document 80 Entered on FLSD Docket 10/22/2021 Page 1 of 3




                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                CASE NO. 1:17-CIV-23749-SEITZ/REID

  MSP RECOVERY CLAIMS, SERIES LLC,

            Plaintiff,
  vs.

  ACE AMERICAN INSUANCE COMPANY,

            Defendant.
   _________________________________________________/

                ORDER DENYING PLAINTIFF’S MOTION TO VACATE ORDER
               AND DIRECTING PLAINTIFF TO FILE AMDENDED COMPLAINT
                               FOLLOWING REMAND

            THIS MATTER is before the Court upon Plaintiff’s Motion to Vacate the Court’s August

  3rd Order Pursuant to Mandate [DE 76]. Plaintiff contends that it should not be required to amend

  its complaint following the Eleventh Circuit’s remand to this Court and that Defendants should

  be required to answer the Complaint as it stands. For the following reasons, Plaintiff’s Motion is

  denied.

            Plaintiff’s thirty-five (35) page Third Amended Class Action Complaint for Damages

  (“TAC”) identifies three Class Representative Claims Relating to a Medicare Part C Beneficiary,

  [DE 36 at 5-7]. The TAC also asserts that MMM Holdings, LLC, (“MMM”) assigned Plaintiff

  MMM’s rights related to certain payments and claims [DE 36 at 13]. However, in its Notice of

  Withdrawing Representative Claim, Plaintiff withdrew its representative claim for “D.G.” and

  also elected not to pursue any representative claims or allegations related to MMM Holdings,

  LLC. [DE 57]. Counts I and II of the TAC currently incorporate by reference all of the

  preceding paragraphs in the TAC including those only related to the “D.G.” representative claim,

  and those related to MMM’s assignment to Plaintiff [DE 36 at 30, 32].


                                                   1
Case 1:17-cv-23749-PAS Document 80 Entered on FLSD Docket 10/22/2021 Page 2 of 3




           Although Plaintiff is correct that the Eleventh Circuit ruled that Plaintiff’s claims should

  not have been dismissed with prejudice, the TAC is unnecessarily lengthy (133 paragraphs) and

  contains allegations and paragraphs irrelevant to the claims at issue. Thus, any Answer by

  Defendants likely will be confusing to the extent it corresponds to the TAC as currently

  structured. In short, without an amended Complaint, the Court will spend time wading through

  unnecessarily lengthy and complex pleadings to determine which paragraphs and allegations

  remain at issue—a waste of judicial resources. See Fed. R. Civ. P. 8 (requiring a short and plain

  statement of the claim showing that the pleader is entitled to relief). Plaintiff’s counsel is

  therefore directed to assist the Court by streamlining the Complaint so that this matter may be

  resolved in a non-confusing, expeditious manner as to the remaining claims.1

           Accordingly, it is ORDERED THAT

           1. Plaintiff’s Motion to Vacate the August 3rd Order Pursuant to Mandate [DE 76] is

               DENIED;

           2. On or before October 29, 2021, Plaintiff shall file a Fourth Amended Complaint

               (Following Remand) that sets forth the relevant claims and facts in a concise manner

               in compliance with Fed. R. Civ. P. 8;

           3. The Defendant shall file its response to the Fourth Amended Complaint (Following

               Remand) on or before November 12, 2021.

           4. The Court will issue a Scheduling Order setting Trial and Pretrial deadlines by way of

               separate order.




  1
   The Court declines Defendant’s invitation to dismiss the Plaintiff’s case in its entirety for deliberately failing to
  comply with the Courts August 3rd Order. The arguments raised by the Plaintiff appear to be advanced in good-faith
  and not merely to disregard this Court’s Order to file an Amended Complaint.

                                                            2
Case 1:17-cv-23749-PAS Document 80 Entered on FLSD Docket 10/22/2021 Page 3 of 3




        5. The Court will hold a Fed. R. Civ. P. 26 (f) discovery conference on Tuesday,

           November 23, 2021 at 10:00 am. On or before November 16, 2021, the Parties

           shall confer and submit a written proposed Discovery Plan as described in Fed. R.

           Civ. P. 26 (f) (3). The Parties shall discuss minimizing costs associated with

           discovery and shall not propound any discovery prior to the Rule 26 (f) conference.

        DONE and ORDERED in Miami, Florida, this 22nd day of October, 2021.



                                             ___________________________________
                                             PATRICIA A. SEITZ
                                             UNITED STATES DISTRICT JUDGE
  cc:   Counsel of Record




                                                3
